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           EXHIBIT A
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                   UNITED STATES DISTRICT COURT

                  NORTHERN DISTRICT OF CALIFORNIA

Before The Honorable Claudia Wilken, Judge


IN RE COLLEGE ATHLETE NIL      )
LITIGATION                     )      NO. 4:20-CV-03919 CW
_______________________________)

                              Oakland, California
                              Thursday, September 21, 2023



    TRANSCRIPT OF REMOTE ZOOM VIDEO CONFERENCE PROCEEDINGS


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          (APPEARANCES CONTINUED ON FOLLOWING PAGE)


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24

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1    case management conference.

2               So why don't we start with the, sort of, housekeeping

3    matters.    We have a request by defendants to add to the record

4    or do something with additional pages from the additional

5    deposition that was taken of the plaintiffs' expert

6    Dr. Rascher.

7               And I can't remember now whether we have a response.

8    Yeah, I guess we have a response.

9               I guess what I would consider doing or would throw out

10   there is letting the defendants file a five-page brief on

11   Monday morning, explaining what it is they think the

12   supplemental deposition does to help them with their class cert

13   motion, and have the plaintiffs respond to that with their

14   five pages two days after that.

15              How does that sound?

16              MR. KILARU:    Your Honor, we're not --

17              THE COURT:    Hearing no objection, I'll assume everyone

18   thinks it's a great idea.

19              And we'll move on to the matter raised by plaintiffs

20   which is a claim that defendants have suddenly disclosed a lot

21   of people and things that hadn't been disclosed before or in a

22   timely fashion, and plaintiffs think that those people or

23   things should be -- should not be admitted because of the late

24   disclosure.

25              I haven't seen, I don't think, any response on that.
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1    There was some hope that perhaps some sort of meet and confer

2    could be done to resolve that.      I don't want to argue it now

3    because I don't know what the facts are.

4             But if someone could give me a brief, one- or

5    two-sentence description of the state of the problem, then I

6    can maybe think of something to do about that also.

7             MR. KILARU:    Sure, Your Honor.     I'm happy --

8             THE COURT:    Mr. Kilaru, maybe you'd like to tell us

9    what's up with that.

10            MR. KILARU:    Yes, I'm happy to, Your Honor.

11            The close of discovery isn't for, I believe, a month.

12   As we're continuing to prepare the defense of the case, we have

13   some additional witnesses that we believe have information that

14   bears on the case.    We wanted to disclose these witnesses

15   during discovery as opposed to after discovery.         There was a

16   little bit of a skirmish about that in the last case, and we

17   think it's proper for us to do so within discovery.

18            And we're happy to take depositions out of time of

19   these individuals and work with plaintiffs, as we've done on a

20   number of other occasions, including party witnesses, to do so.

21            THE COURT:    Have you made a complete list of all such

22   things and why you need them and why you didn't tell us about

23   them earlier?

24            MR. KILARU:    We're in the process of doing that,

25   Your Honor.   I believe two conferences have filed theirs.            The
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1    rest will file ours -- NCAA will file ours promptly.          It just

2    relates to our continued investigation of the claims and the

3    continued evolution of the claims as we hear about the theories

4    plaintiffs are developing, including through their reply

5    briefs.

6              THE COURT:    Okay.   Well, I guess maybe what we could

7    do, then, is have you also on Monday morning, maybe not file

8    but submit to plaintiffs your proposal as to the new people

9    that you want to now disclose and why you want them and why you

10   didn't tell them earlier, and then have a meet and confer and

11   see if you can agree on any of them.

12             And if you can't, then I guess we'll have to have some

13   sort of brief motion practice, which I'd probably refer to

14   Judge Cousins, and in which I would ask Judge Cousins to

15   consider the reason for late disclosures and compare it with

16   the importance to the interests of justice of allowing the

17   witnesses and making decisions based on that sort of

18   calculation.

19             So how does that sound?

20             MR. KILARU:   Your Honor, we're happy to do that.

21             The only thing I would note is that, at least just

22   from our perspective, these aren't late disclosures.          Discovery

23   is still open and the plaintiffs are still serving subpoenas

24   and we're serving subpoenas.      The discovery period doesn't

25   close for a month.     So this isn't a situation where fact
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1    discovery is closed and we're coming in afterwards and trying

2    to expand the record.    The record is still being developed.

3             THE COURT:    Right.    And I don't know who these people

4    are or what, but there are certain things that are subject to

5    initial disclosures and certain things that are subject

6    probably to answers to interrogatories and that sort of thing.

7    And it may -- I'm just guessing here, based on prior

8    experience, that there might be some argument that these people

9    should have been disclosed earlier in some other format.

10            So if there isn't, then great, we don't have a

11   problem; but if there is, then we will be balancing the

12   importance of the testimony against the reasons for the

13   disclosure at the time that it was disclosed.

14            Does this sound all right to the plaintiffs?

15            MS. PARSIGIAN:     Yes, Your Honor.     We will accept

16   whatever they submit to us on Monday and meet and confer and

17   then get back to the Court if there is a continuing issue.

18            THE COURT:    Okay.    Now, these things aren't going to

19   impact my preparation of the class cert order, which I don't

20   want to delay, but -- so I don't feel the need to set an

21   aggressive schedule for resolving that.       I'll just trust you

22   all to resolve it as quickly as you can.        And to the extent

23   more discovery is required, keep in mind that I don't want it

24   to interfere with the continued progress of the case or with

25   the trial.
